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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

In re:                                               )      Chapter 11
                                                     )
THE KRYSTAL COMPANY, et al., 1                       )      Case No. 20-61065 (PWB)
                                                     )
                                                     )
               Debtors.                              )      (Jointly Administered)
                                                     )

                         NOTICE OF ASSUMPTION OF
                 EXECUTORY CONTRACTS AND UNEXPIRED LEASES

       PLEASE TAKE NOTICE that on June 2, 2020, the Court entered the Amended Order
Establishing Procedures for the Assumption or Rejection of Certain Executory Contracts and
Unexpired Leases (the “Procedures Order”) [Docket No. 535]. 2

       PLEASE TAKE FURTHER NOTICE that pursuant to the terms of the Procedures
Order, the above-captioned debtors and debtors in possession (collectively, the “Debtors”)
hereby provide notice of the assumption by the Debtors and assignment to the Purchaser of the
Assigned Contracts (each as amended by agreement of the parties thereto) listed on Schedule 1
attached hereto. Pursuant to the terms of the Procedures Order, the Assigned Contracts are
deemed assumed and assigned effective as of the date of this Notice.

                             [Remainder of Page Intentionally Blank]




1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal
    tax identification number, include: The Krystal Company (4140); Krystal Holdings, Inc.
    (5381); and K-Square Acquisition Co., LLC (8916). The location of the Debtors’ corporate
    headquarters and service address is: 1455 Lincoln Parkway, Suite 600, Dunwoody, Georgia
    30346.
2
    Capitalized terms used but not defined herein shall have the meanings ascribed to such terms
    in the Procedures Order.
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Date: June 30, 2020                         Respectfully submitted,
      Atlanta, Georgia
                                            KING & SPALDING LLP


                                            /s/ Sarah R. Borders
                                            Sarah R. Borders
                                            Georgia Bar No. 610649
                                            Jeffrey R. Dutson
                                            Georgia Bar No. 637106
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                                            Counsel for the Debtors in Possession
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                                     Schedule 1

                                 Assigned Contracts
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Counterparty                             Address1             Address2             City              State Province   Zip     Contract Date   Description                 Category                  Accept/Reject
J & S PROPERTIES                         1101 13TH STREET                          PHENIX CITY       AL               36867   12/07/12        Sublease Agreement - Real Estate - Subleased NEW ACCEPT
                                                                                                                                              Store DOA001/DOAF01 to Franchisee

THE FRANVILLE CORPORATION                ATTN: TRAVIS         P.O. BOX 675         GAINESVILLE       GA               30503   05/11/01        Sublease Agreement -        Real Estate - Subleased NEW ACCEPT
                                         ROGERS                                                                                               Store ATH002/ATLF22         to Franchisee

THE FRANVILLE CORPORATION                ATTN: TRAVIS         P.O. BOX 675         GAINESVILLE       GA               30503   01/03/11        Sublease Agreement -        Real Estate - Subleased NEW ACCEPT
                                         ROGERS                                                                                               Store ATL054/ATLF33         to Franchisee

THE FRANVILLE CORPORATION                ATTN: TRAVIS         P.O. BOX 675         GAINESVILLE       GA               30503   01/03/11        Sublease Agreement -        Real Estate - Subleased NEW ACCEPT
                                         ROGERS                                                                                               Store ATL059/ATLF34         to Franchisee

WAC ENTERPRISES INC.                     ATTN: WAYNE AND      118 RIVERPOINT RD    SIGNAL MOUNTAIN   TN               37377   01/06/20        Sublease Agreement - Real Estate - Subleased NEW ACCEPT
                                         CAROLYN HALE                                                                                         Store CHN009/CHNF06 to Franchisee

WAC ENTERPRISES INC.                     ATTN: WAYNE AND      118 RIVERPOINT RD    SIGNAL MOUNTAIN   TN               37377   01/06/20        Sublease Agreement - Real Estate - Subleased NEW ACCEPT
                                         CAROLYN HALE                                                                                         Store CHN011/CHNF07 to Franchisee

WAC ENTERPRISES INC.                     ATTN: WAYNE AND      118 RIVERPOINT RD    SIGNAL MOUNTAIN   TN               37377   01/17/20        Sublease Agreement - Real Estate - Subleased NEW ACCEPT
                                         CAROLYN HALE                                                                                         Store CHN017/CHNF10 to Franchisee

WAC ENTERPRISES INC.                     ATTN: WAYNE AND      118 RIVERPOINT RD    SIGNAL MOUNTAIN   TN               37377   01/06/20        Sublease Agreement - Real Estate - Subleased NEW ACCEPT
                                         CAROLYN HALE                                                                                         Store CHN022/CHNF08 to Franchisee

WAC ENTERPRISES INC.                     ATTN: WAYNE AND      118 RIVERPOINT RD    SIGNAL MOUNTAIN   TN               37377   01/06/20        Sublease Agreement - Real Estate - Subleased NEW ACCEPT
                                         CAROLYN HALE                                                                                         Store CHN026/CHNF09 to Franchisee

WAC ENTERPRISES INC.                     ATTN: WAYNE AND      118 RIVERPOINT RD    SIGNAL MOUNTAIN   TN               37377   02/25/10        Sublease Agreement - Real Estate - Subleased NEW ACCEPT
                                         CAROLYN HALE                                                                                         Store CHN028/CHNF05 to Franchisee

WAC ENTERPRISES INC.                     ATTN: WAYNE AND      118 RIVERPOINT RD    SIGNAL MOUNTAIN   TN               37377   09/22/11        Sublease Agreement - Real Estate - Subleased NEW ACCEPT
                                         CAROLYN HALE                                                                                         Store CHN201/CHNF04 to Franchisee

WAC ENTERPRISES INC.                     ATTN: WAYNE AND      118 RIVERPOINT RD    SIGNAL MOUNTAIN   TN               37377   02/25/19        Sublease Agreement - Real Estate - Subleased NEW ACCEPT
                                         CAROLYN HALE                                                                                         Store MAC011/MACF08 to Franchisee

WAC ENTERPRISES INC.                     ATTN: WAYNE AND      118 RIVERPOINT RD    SIGNAL MOUNTAIN   TN               37377   10/11/18        Sublease Agreement - Real Estate - Subleased NEW ACCEPT
                                         CAROLYN HALE                                                                                         Store PCB002/PCBF01 to Franchisee

CITIZENS STATE BANK                      4564 MAIN STREET                          JASPER            TN               37347   04/16/96        ATM Lease - Store           Real Estate - ATM         NEW ACCEPT
                                                                                                                                              KIM001
WELLS FARGO CORPORATE PROPERTIES GROUP   ATTN: LEASE          1525 WEST W.T.       CHARLOTTE         NC               28262   02/28/03        ATM Lease - Store           Real Estate - ATM         NEW ACCEPT
                                         ADMINISTRATION       HARRIS BLVD.                                                                    ATL056
                                         (BE#143714)
CLEAR CHANNEL                            1765 W OAK PKWY,                          MARIETTA          GA               30062   02/21/19        Billboard Lease - Store     Real Estate - Billboard   NEW ACCEPT
                                         SUITE 700                                                                                            ATL012
CLEAR CHANNEL                            1765 W OAK PKWY,                          MARIETTA          GA               30062   03/01/19        Billboard Lease - Store     Real Estate - Billboard   NEW ACCEPT
                                         SUITE 700                                                                                            ATL037
CLEAR CHANNEL                            1765 W OAK PKWY,                          MARIETTA          GA               30062   03/01/19        Billboard Lease - Store     Real Estate - Billboard   NEW ACCEPT
                                         SUITE 700                                                                                            ATL042
LAMAR ADVERTISING                        MR. JOHN J. CALLEN   P.O. BOX 23147       SAVANNAH          GA               31403   11/10/09        Billboard Lease - Store     Real Estate - Billboard   NEW ACCEPT
                                                                                                                                              SAV005
OUTFRONT MEDIA                           403 FORD DRIVE                            COLUMBUS          GA               31907   04/15/97        Billboard Lease - Store     Real Estate - Billboard   NEW ACCEPT
                                                                                                                                              COL001
OUTFRONT MEDIA                           403 FORD DRIVE                            COLUMBUS          GA               31907   01/29/10        Billboard Lease - Store     Real Estate - Billboard   NEW ACCEPT
                                                                                                                                              MAR004
SOUTHEASTERN DISPLAYS                    P.O. BOX 990                              BOWLING GREEN     KY               42102   11/19/04        Billboard Lease - Store     Real Estate - Billboard   NEW ACCEPT
                                                                                                                                              BGK002
BEARD HOLDINGS, LLC                      ATTN: BEN BEARD      P.O. BOX 745         TROY              AL               36081   06/24/09        Lease Agreement - Store     Real Estate - Lease       NEW ACCEPT
                                                                                                                                              PCB002/PCBF01
DIXIE THOMAS DOWNER                      107 JACKSON ROAD                          HIXSON            TN               37343   02/25/10        Lease Agreement - Store     Real Estate - Lease       NEW ACCEPT
                                                                                                                                              CHN028/CHNF05
REALTY INCOME                            ATTN: LEGAL          11995 EL CAMINO      SAN DIEGO         CA               92130   12/31/01        Lease Agreement - Store     Real Estate - Lease       NEW ACCEPT
                                         DEPARTMENT           REAL                                                                            ALB004
REALTY INCOME                            ATTN: LEGAL          11995 EL CAMINO      SAN DIEGO         CA               92130   12/31/01        Lease Agreement - Store     Real Estate - Lease       NEW ACCEPT
                                         DEPARTMENT           REAL                                                                            ATL047
REALTY INCOME                            ATTN: LEGAL          11995 EL CAMINO      SAN DIEGO         CA               92130   12/31/01        Lease Agreement - Store     Real Estate - Lease       NEW ACCEPT
                                         DEPARTMENT           REAL                                                                            ATL049
REALTY INCOME                            ATTN: LEGAL          11995 EL CAMINO      SAN DIEGO         CA               92130   12/31/01        Lease Agreement - Store     Real Estate - Lease       NEW ACCEPT
                                         DEPARTMENT           REAL                                                                            ATL051
REALTY INCOME                            ATTN: LEGAL          11995 EL CAMINO      SAN DIEGO         CA               92130   12/31/01        Lease Agreement - Store     Real Estate - Lease       NEW ACCEPT
                                         DEPARTMENT           REAL                                                                            BCF002
REALTY INCOME                            ATTN: LEGAL          11995 EL CAMINO      SAN DIEGO         CA               92130   12/31/01        Lease Agreement - Store     Real Estate - Lease       NEW ACCEPT
                                         DEPARTMENT           REAL                                                                            CHN021
REALTY INCOME                            ATTN: LEGAL          11995 EL CAMINO      SAN DIEGO         CA               92130   12/31/01        Lease Agreement - Store     Real Estate - Lease       NEW ACCEPT
                                         DEPARTMENT           REAL                                                                            CTN002
REALTY INCOME                            ATTN: LEGAL          11995 EL CAMINO      SAN DIEGO         CA               92130   12/31/01        Lease Agreement - Store     Real Estate - Lease       NEW ACCEPT
                                         DEPARTMENT           REAL                                                                            DAY004
REALTY INCOME                            ATTN: LEGAL          11995 EL CAMINO      SAN DIEGO         CA               92130   12/31/01        Lease Agreement - Store     Real Estate - Lease       NEW ACCEPT
                                         DEPARTMENT           REAL                                                                            JAX021
REALTY INCOME                            ATTN: LEGAL          11995 EL CAMINO      SAN DIEGO         CA               92130   12/31/01        Lease Agreement - Store     Real Estate - Lease       NEW ACCEPT
                                         DEPARTMENT           REAL                                                                            JCM007
REALTY INCOME                            ATTN: LEGAL          11995 EL CAMINO      SAN DIEGO         CA               92130   12/31/01        Lease Agreement - Store     Real Estate - Lease       NEW ACCEPT
                                         DEPARTMENT           REAL                                                                            JCM008
REALTY INCOME                            ATTN: LEGAL          11995 EL CAMINO      SAN DIEGO         CA               92130   12/31/01        Lease Agreement - Store     Real Estate - Lease       NEW ACCEPT
                                         DEPARTMENT           REAL                                                                            JTN001
REALTY INCOME                            ATTN: LEGAL          11995 EL CAMINO      SAN DIEGO         CA               92130   12/31/01        Lease Agreement - Store     Real Estate - Lease       NEW ACCEPT
                                         DEPARTMENT           REAL                                                                            KIM001
REALTY INCOME                            ATTN: LEGAL          11995 EL CAMINO      SAN DIEGO         CA               92130   12/31/01        Lease Agreement - Store     Real Estate - Lease       NEW ACCEPT
                                         DEPARTMENT           REAL                                                                            KNX011
REALTY INCOME                            ATTN: LEGAL          11995 EL CAMINO      SAN DIEGO         CA               92130   12/31/01        Lease Agreement - Store     Real Estate - Lease       NEW ACCEPT
                                         DEPARTMENT           REAL                                                                            KNX012
REALTY INCOME                            ATTN: LEGAL          11995 EL CAMINO      SAN DIEGO         CA               92130   12/31/01        Lease Agreement - Store     Real Estate - Lease       NEW ACCEPT
                                         DEPARTMENT           REAL                                                                            KNX013
REALTY INCOME                            ATTN: LEGAL          11995 EL CAMINO      SAN DIEGO         CA               92130   12/31/01        Lease Agreement - Store     Real Estate - Lease       NEW ACCEPT
                                         DEPARTMENT           REAL                                                                            KNX014
REALTY INCOME                            ATTN: LEGAL          11995 EL CAMINO      SAN DIEGO         CA               92130   12/31/01        Lease Agreement - Store     Real Estate - Lease       NEW ACCEPT
                                         DEPARTMENT           REAL                                                                            KNX018
REALTY INCOME                            ATTN: LEGAL          11995 EL CAMINO      SAN DIEGO         CA               92130   12/31/01        Lease Agreement - Store     Real Estate - Lease       NEW ACCEPT
                                         DEPARTMENT           REAL                                                                            MAR004
REALTY INCOME                            ATTN: LEGAL          11995 EL CAMINO      SAN DIEGO         CA               92130   12/31/01        Lease Agreement - Store     Real Estate - Lease       NEW ACCEPT
                                         DEPARTMENT           REAL                                                                            MBL001
REALTY INCOME                            ATTN: LEGAL          11995 EL CAMINO      SAN DIEGO         CA               92130   12/31/01        Lease Agreement - Store     Real Estate - Lease       NEW ACCEPT
                                         DEPARTMENT           REAL                                                                            MFS011
REALTY INCOME                            ATTN: LEGAL          11995 EL CAMINO      SAN DIEGO         CA               92130   12/31/01        Lease Agreement - Store     Real Estate - Lease       NEW ACCEPT
                                         DEPARTMENT           REAL                                                                            MFS016
REALTY INCOME                            ATTN: LEGAL          11995 EL CAMINO      SAN DIEGO         CA               92130   12/31/01        Lease Agreement - Store     Real Estate - Lease       NEW ACCEPT
                                         DEPARTMENT           REAL                                                                            MNT001
REALTY INCOME                            ATTN: LEGAL          11995 EL CAMINO      SAN DIEGO         CA               92130   12/31/01        Lease Agreement - Store     Real Estate - Lease       NEW ACCEPT
                                         DEPARTMENT           REAL                                                                            NSH015
REALTY INCOME                            ATTN: LEGAL          11995 EL CAMINO      SAN DIEGO         CA               92130   12/31/01        Lease Agreement - Store     Real Estate - Lease       NEW ACCEPT
                                         DEPARTMENT           REAL                                                                            NSH022
REALTY INCOME                            ATTN: LEGAL          11995 EL CAMINO      SAN DIEGO         CA               92130   12/31/01        Lease Agreement - Store     Real Estate - Lease       NEW ACCEPT
                                         DEPARTMENT           REAL                                                                            ORT001
REALTY INCOME                            ATTN: LEGAL          11995 EL CAMINO      SAN DIEGO         CA               92130   12/31/01        Lease Agreement - Store     Real Estate - Lease       NEW ACCEPT
                                         DEPARTMENT           REAL                                                                            PEN004
REALTY INCOME                            ATTN: LEGAL          11995 EL CAMINO      SAN DIEGO         CA               92130   12/31/01        Lease Agreement - Store     Real Estate - Lease       NEW ACCEPT
                                         DEPARTMENT           REAL                                                                            ROS002
REALTY INCOME                            ATTN: LEGAL          11995 EL CAMINO      SAN DIEGO         CA               92130   12/31/01        Lease Agreement - Store     Real Estate - Lease       NEW ACCEPT
                                         DEPARTMENT           REAL                                                                            SAV004
REALTY INCOME                            ATTN: LEGAL          11995 EL CAMINO      SAN DIEGO         CA               92130   12/31/01        Lease Agreement - Store     Real Estate - Lease       NEW ACCEPT
                                         DEPARTMENT           REAL                                                                            SAV005
REALTY INCOME                            ATTN: LEGAL          11995 EL CAMINO      SAN DIEGO         CA               92130   12/31/01        Lease Agreement - Store     Real Estate - Lease       NEW ACCEPT
                                         DEPARTMENT           REAL                                                                            SAV006
ROCK SOLID, LP                           ATTN: JENNIFER       296 CHURCH STREET,   DAYTON            TN               37321   04/02/12        Lease Agreement - Store     Real Estate - Lease       NEW ACCEPT
                                         VANMETER             UNIT 2                                                                          CHN201/CHNF04
ALABAMA POWER COMPANY                    P.O. BOX 2641                             BIRMINGHAM        AL               35203   10/20/15        Lighting Services           Real Estate - Parking     NEW ACCEPT
                                                                                                                                              Customer Conversion         Lights Lease
                                                                                                                                              NEC Lease Agreement -
                                                                                                                                              1810 Crestwood Blvd,
                                                                                                                                              Irondale, AL 35210
ALABAMA POWER COMPANY                    P.O. BOX 2641                             BIRMINGHAM        AL               35203   10/21/15        Lighting Services NEC       Real Estate - Parking     NEW ACCEPT
                                                                                                                                              Lease Agreement - 1020      Lights Lease
                                                                                                                                              Fort Dale Rd, Greenville,
                                                                                                                                              AL 36037

ALABAMA POWER COMPANY                    P.O. BOX 2641                             BIRMINGHAM        AL               35203   11/03/15        Lighting Services NEC Real Estate - Parking           NEW ACCEPT
                                                                                                                                              Lease Agreement - 1211 Lights Lease
                                                                                                                                              Industrial Parkway ,
                                                                                                                                              Saraland, AL 36572
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ALABAMA POWER COMPANY       P.O. BOX 2641        BIRMINGHAM   AL   35203   01/25/16   Lighting Services NEC Real Estate - Parking       NEW ACCEPT
                                                                                      Lease Agreement - 1212 Lights Lease
                                                                                      Pinson St, Tarrant City ,
                                                                                      AL 35217

ALABAMA POWER COMPANY       P.O. BOX 2641        BIRMINGHAM   AL   35203   01/25/16   Lighting Services NEC Real Estate - Parking       NEW ACCEPT
                                                                                      Lease Agreement - 1576 Lights Lease
                                                                                      Montgomery Hwy,
                                                                                      Hoover, AL 35216

ALABAMA POWER COMPANY       P.O. BOX 2641        BIRMINGHAM   AL   35203   06/30/16   Lighting Services NEC Real Estate - Parking       NEW ACCEPT
                                                                                      Lease Agreement - 1740 Lights Lease
                                                                                      Chantilly Pkwy,
                                                                                      Montgomery, AL 36116

ALABAMA POWER COMPANY       P.O. BOX 2641        BIRMINGHAM   AL   35203   12/10/15   Lighting Services NEC Real Estate - Parking       NEW ACCEPT
                                                                                      Lease Agreement - 1817 Lights Lease
                                                                                      Sixth Ave SE, Decatur,
                                                                                      AL 35601

ALABAMA POWER COMPANY       P.O. BOX 2641        BIRMINGHAM   AL   35203   11/17/16   Lighting Services NEC Real Estate - Parking       NEW ACCEPT
                                                                                      Lease Agreement - 1927 Lights Lease
                                                                                      S College St, Auburn,
                                                                                      AL 36830

ALABAMA POWER COMPANY       P.O. BOX 2641        BIRMINGHAM   AL   35203   12/10/15   Lighting Services NEC Real Estate - Parking       NEW ACCEPT
                                                                                      Lease Agreement - 2400 Lights Lease
                                                                                      South McKenzie, Foley
                                                                                      ,AL 36535

ALABAMA POWER COMPANY       P.O. BOX 2641        BIRMINGHAM   AL   35203   12/01/15   Lighting Services NEC     Real Estate - Parking   NEW ACCEPT
                                                                                      Lease Agreement -         Lights Lease
                                                                                      24787 John T. Reid
                                                                                      Parkway, Scottsboro, AL
                                                                                      35768
ALABAMA POWER COMPANY       P.O. BOX 2641        BIRMINGHAM   AL   35203   10/21/15   Lighting Services NEC     Real Estate - Parking   NEW ACCEPT
                                                                                      Lease Agreement - 2805    Lights Lease
                                                                                      East South Blvd,
                                                                                      Montgomery, AL 36116

ALABAMA POWER COMPANY       P.O. BOX 2641        BIRMINGHAM   AL   35203   10/23/15   Lighting Services NEC Real Estate - Parking       NEW ACCEPT
                                                                                      Lease Agreement - 2918 Lights Lease
                                                                                      20th Ave, Valley, AL
                                                                                      36854

ALABAMA POWER COMPANY       P.O. BOX 2641        BIRMINGHAM   AL   35203   01/06/16   Lighting Services NEC Real Estate - Parking       NEW ACCEPT
                                                                                      Lease Agreement - 3091 Lights Lease
                                                                                      Dauphine St, Mobile, AL
                                                                                      36606

ALABAMA POWER COMPANY       P.O. BOX 2641        BIRMINGHAM   AL   35203   03/17/17   Lighting Services NEC Real Estate - Parking       NEW ACCEPT
                                                                                      Lease Agreement - 3710 Lights Lease
                                                                                      McFarland Blvd,
                                                                                      Tuscaloosa, AL 35405

ALABAMA POWER COMPANY       P.O. BOX 2641        BIRMINGHAM   AL   35203   01/06/16   Lighting Services NEC Real Estate - Parking       NEW ACCEPT
                                                                                      Lease Agreement - 4110 Lights Lease
                                                                                      Government Blvd,
                                                                                      Mobile, AL 36693

ALABAMA POWER COMPANY       P.O. BOX 2641        BIRMINGHAM   AL   35203   11/03/15   Lighting Services NEC     Real Estate - Parking   NEW ACCEPT
                                                                                      Lease Agreement - 475     Lights Lease
                                                                                      Schillinger Rd South,
                                                                                      Mobile, AL 36695

ALABAMA POWER COMPANY       P.O. BOX 2641        BIRMINGHAM   AL   35203   12/02/15   Lighting Services NEC Real Estate - Parking       NEW ACCEPT
                                                                                      Lease Agreement - 8790 Lights Lease
                                                                                      Madison Blvd, Madison,
                                                                                      AL 35758

ALABAMA POWER COMPANY       P.O. BOX 2641        BIRMINGHAM   AL   35203   11/19/15   Lighting Services NESC Real Estate - Parking      NEW ACCEPT
                                                                                      Lease Agreement - 1006 Lights Lease
                                                                                      280 By Pass , Phenix
                                                                                      City , AL 36867

ALABAMA POWER COMPANY       P.O. BOX 2641        BIRMINGHAM   AL   35203   10/21/15   Lighting Services NESC Real Estate - Parking      NEW ACCEPT
                                                                                      Lease Agreement - 1119 Lights Lease
                                                                                      Main Street, Gardendale
                                                                                      , AL 35071

ALABAMA POWER COMPANY       P.O. BOX 2641        BIRMINGHAM   AL   35203   01/25/16   Lighting Services NESC Real Estate - Parking      NEW ACCEPT
                                                                                      Lease Agreement - 1576 Lights Lease
                                                                                      Montgomery Hwy,
                                                                                      Hoover, AL 35216

ALABAMA POWER COMPANY       P.O. BOX 2641        BIRMINGHAM   AL   35203   11/03/15   Lighting Services NESC Real Estate - Parking      NEW ACCEPT
                                                                                      Lease Agreement - 1914 Lights Lease
                                                                                      Government Blvd,
                                                                                      Mobile, AL 36606

ALABAMA POWER COMPANY       P.O. BOX 2641        BIRMINGHAM   AL   35203   11/17/16   Lighting Services NESC Real Estate - Parking      NEW ACCEPT
                                                                                      Lease Agreement - 1927 Lights Lease
                                                                                      S College St, Auburn,
                                                                                      AL 36830

ALABAMA POWER COMPANY       P.O. BOX 2641        BIRMINGHAM   AL   35203   10/21/15   Lighting Services NESC Real Estate - Parking      NEW ACCEPT
                                                                                      Lease Agreement - 2678 Lights Lease
                                                                                      Zelda Rd, Montgomery,
                                                                                      AL 36107

ALABAMA POWER COMPANY       P.O. BOX 2641        BIRMINGHAM   AL   35203   01/06/16   Lighting Services NESC Real Estate - Parking      NEW ACCEPT
                                                                                      Lease Agreement - 3091 Lights Lease
                                                                                      Dauphine St, Mobile, AL
                                                                                      36606

ALABAMA POWER COMPANY       P.O. BOX 2641        BIRMINGHAM   AL   35203   10/16/15   Lighting Services NESC Real Estate - Parking      NEW ACCEPT
                                                                                      Lease Agreement - 3710 Lights Lease
                                                                                      McFarland Blvd,
                                                                                      Tuscaloosa, AL 35405

ALABAMA POWER COMPANY       P.O. BOX 2641        BIRMINGHAM   AL   35203   10/21/15   Lighting Services NESC Real Estate - Parking      NEW ACCEPT
                                                                                      Lease Agreement - 3916 Lights Lease
                                                                                      Norman Bridge Rd,
                                                                                      Montgomery, AL 36105

ALABAMA POWER COMPANY       P.O. BOX 2641        BIRMINGHAM   AL   35203   01/06/16   Lighting Services NESC Real Estate - Parking      NEW ACCEPT
                                                                                      Lease Agreement - 4110 Lights Lease
                                                                                      Government Blvd,
                                                                                      Mobile, AL 36693

ALABAMA POWER COMPANY       P.O. BOX 2641        BIRMINGHAM   AL   35203   12/15/15   Lighting Services NESC Real Estate - Parking      NEW ACCEPT
                                                                                      Lease Agreement - 4696 Lights Lease
                                                                                      Moffatt Rd, Mobile, AL
                                                                                      36618

ALABAMA POWER COMPANY       P.O. BOX 2641        BIRMINGHAM   AL   35203   10/21/15   Lighting Services NESC Real Estate - Parking      NEW ACCEPT
                                                                                      Lease Agreement - 5650 Lights Lease
                                                                                      Atlanta Hwy,
                                                                                      Montgomery, AL 36117

ENTERGY MISSISSIPPI, INC.   308 EAST PEARL       JACKSON      MS   39201   11/03/15   Agreement for             Real Estate - Parking   NEW ACCEPT
                            STREET                                                    Directional Security      Lights Lease
                                                                                      Lighting - 1045 Ellis
                                                                                      Avenue, Jackson, MS
                                                                                      39209
ENTERGY MISSISSIPPI, INC.   308 EAST PEARL       JACKSON      MS   39201   02/21/18   Agreement for             Real Estate - Parking   NEW ACCEPT
                            STREET                                                    Directional Security      Lights Lease
                                                                                      Lighting - 1257 West
                                                                                      Government St,
                                                                                      Brandon, MS 39042
ENTERGY MISSISSIPPI, INC.   308 EAST PEARL       JACKSON      MS   39201   11/13/15   Agreement for             Real Estate - Parking   NEW ACCEPT
                            STREET                                                    Directional Security      Lights Lease
                                                                                      Lighting - 2010 E
                                                                                      County Line Rd,
                                                                                      Ridgeland, MS 39157
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ENTERGY MISSISSIPPI, INC.   308 EAST PEARL       JACKSON   MS   39201        11/13/15   Agreement for              Real Estate - Parking   NEW ACCEPT
                            STREET                                                      Directional Security       Lights Lease
                                                                                        Lighting - 2325 Lakeland
                                                                                        Drive, Flowood, MS
                                                                                        39232
ENTERGY MISSISSIPPI, INC.   308 EAST PEARL       JACKSON   MS   39201        01/12/16   Agreement for              Real Estate - Parking   NEW ACCEPT
                            STREET                                                      Directional Security       Lights Lease
                                                                                        Lighting - 3502 Highway
                                                                                        80 East, Pearl , MS
                                                                                        39208
ENTERGY MISSISSIPPI, INC.   308 EAST PEARL       JACKSON   MS   39201        11/13/15   Agreement for              Real Estate - Parking   NEW ACCEPT
                            STREET                                                      Directional Security       Lights Lease
                                                                                        Lighting - 3875 Highway
                                                                                        80 West, Jackson, MS
                                                                                        39209
ENTERGY MISSISSIPPI, INC.   308 EAST PEARL       JACKSON   MS   39201        11/03/15   Agreement for              Real Estate - Parking   NEW ACCEPT
                            STREET                                                      Directional Security       Lights Lease
                                                                                        Lighting - 4307 North
                                                                                        State Street, Jackson,
                                                                                        MS 39206
GEORGIA POWER COMPANY       1790 MONTREAL        TUCKER    GA   30084-6801   03/09/15   Governmental Customer      Real Estate - Parking   NEW ACCEPT
                            CIRCLE                                                      Conversion NEC Lease       Lights Lease
                                                                                        Agreement - 626 14th
                                                                                        Street, Atlanta , GA
                                                                                        30318
GEORGIA POWER COMPANY       1790 MONTREAL        TUCKER    GA   30084-6801   03/16/15   Lighting Services          Real Estate - Parking   NEW ACCEPT
                            CIRCLE                                                      Customer Conversion        Lights Lease
                                                                                        NEC Lease Agreement -
                                                                                        111 N Morningside
                                                                                        Drive, Cartersville, GA
                                                                                        30120
GEORGIA POWER COMPANY       1790 MONTREAL        TUCKER    GA   30084-6801   04/03/15   Lighting Services          Real Estate - Parking   NEW ACCEPT
                            CIRCLE                                                      Customer Conversion        Lights Lease
                                                                                        NEC Lease Agreement -
                                                                                        1140 Gray Hwy, Macon,
                                                                                        GA 31211
GEORGIA POWER COMPANY       1790 MONTREAL        TUCKER    GA   30084-6801   04/15/15   Lighting Services          Real Estate - Parking   NEW ACCEPT
                            CIRCLE                                                      Customer Conversion        Lights Lease
                                                                                        NEC Lease Agreement -
                                                                                        1415 Sam Nunn Blvd,
                                                                                        Perry, GA 31069
GEORGIA POWER COMPANY       1790 MONTREAL        TUCKER    GA   30084-6801   04/03/15   Lighting Services          Real Estate - Parking   NEW ACCEPT
                            CIRCLE                                                      Customer Conversion        Lights Lease
                                                                                        NEC Lease Agreement -
                                                                                        1638 Watson Blvd,
                                                                                        Warner Robins, GA
                                                                                        31093
GEORGIA POWER COMPANY       1790 MONTREAL        TUCKER    GA   30084-6801   03/16/15   Lighting Services          Real Estate - Parking   NEW ACCEPT
                            CIRCLE                                                      Customer Conversion        Lights Lease
                                                                                        NEC Lease Agreement -
                                                                                        1704 Turner McCall
                                                                                        Blvd, Rome, GA 30161
GEORGIA POWER COMPANY       1790 MONTREAL        TUCKER    GA   30084-6801   04/03/15   Lighting Services          Real Estate - Parking   NEW ACCEPT
                            CIRCLE                                                      Customer Conversion        Lights Lease
                                                                                        NEC Lease Agreement -
                                                                                        1884 N Columbia St,
                                                                                        Milledgeville, GA 31061
GEORGIA POWER COMPANY       1790 MONTREAL        TUCKER    GA   30084-6801   04/01/15   Lighting Services          Real Estate - Parking   NEW ACCEPT
                            CIRCLE                                                      Customer Conversion        Lights Lease
                                                                                        NEC Lease Agreement -
                                                                                        1909 East Walnut
                                                                                        Avenue, Dalton, GA
                                                                                        30720
GEORGIA POWER COMPANY       1790 MONTREAL        TUCKER    GA   30084-6801   03/23/15   Lighting Services          Real Estate - Parking   NEW ACCEPT
                            CIRCLE                                                      Customer Conversion        Lights Lease
                                                                                        NEC Lease Agreement -
                                                                                        2509 North Main Street,
                                                                                        East Point, GA 30344
GEORGIA POWER COMPANY       1790 MONTREAL        TUCKER    GA   30084-6801   03/30/15   Lighting Services          Real Estate - Parking   NEW ACCEPT
                            CIRCLE                                                      Customer Conversion        Lights Lease
                                                                                        NEC Lease Agreement -
                                                                                        2560 Lafayette Rd, Ft
                                                                                        Oglethorpe, GA 30742
GEORGIA POWER COMPANY       1790 MONTREAL        TUCKER    GA   30084-6801   03/20/15   Lighting Services          Real Estate - Parking   NEW ACCEPT
                            CIRCLE                                                      Customer Conversion        Lights Lease
                                                                                        NEC Lease Agreement -
                                                                                        271 S Cobb Parkway,
                                                                                        Marietta , GA 30062
GEORGIA POWER COMPANY       1790 MONTREAL        TUCKER    GA   30084-6801   04/03/15   Lighting Services          Real Estate - Parking   NEW ACCEPT
                            CIRCLE                                                      Customer Conversion        Lights Lease
                                                                                        NEC Lease Agreement -
                                                                                        2863 Pio Nino Ave,
                                                                                        Macon, GA 31206
GEORGIA POWER COMPANY       1790 MONTREAL        TUCKER    GA   30084-6801   04/15/15   Lighting Services          Real Estate - Parking   NEW ACCEPT
                            CIRCLE                                                      Customer Conversion        Lights Lease
                                                                                        NEC Lease Agreement -
                                                                                        301 West Waugh St,
                                                                                        Dalton, GA 30720
GEORGIA POWER COMPANY       1790 MONTREAL        TUCKER    GA   30084-6801   03/20/15   Lighting Services          Real Estate - Parking   NEW ACCEPT
                            CIRCLE                                                      Customer Conversion        Lights Lease
                                                                                        NEC Lease Agreement -
                                                                                        3230 Highway 278,
                                                                                        Covington, GA 30014
GEORGIA POWER COMPANY       1790 MONTREAL        TUCKER    GA   30084-6801   03/11/16   Lighting Services          Real Estate - Parking   NEW ACCEPT
                            CIRCLE                                                      Customer Conversion        Lights Lease
                                                                                        NEC Lease Agreement -
                                                                                        3650 Riverside Dr,
                                                                                        Macon, GA 31707
GEORGIA POWER COMPANY       1790 MONTREAL        TUCKER    GA   30084-6801   10/23/15   Lighting Services          Real Estate - Parking   NEW ACCEPT
                            CIRCLE                                                      Customer Conversion        Lights Lease
                                                                                        NEC Lease Agreement -
                                                                                        412 13th Street,
                                                                                        Columbus, GA 31907
GEORGIA POWER COMPANY       1790 MONTREAL        TUCKER    GA   30084-6801   03/30/15   Lighting Services          Real Estate - Parking   NEW ACCEPT
                            CIRCLE                                                      Customer Conversion        Lights Lease
                                                                                        NEC Lease Agreement -
                                                                                        5071 Highway 136 W,
                                                                                        Trenton, GA 30752
GEORGIA POWER COMPANY       1790 MONTREAL        TUCKER    GA   30084-6801   03/20/15   Lighting Services          Real Estate - Parking   NEW ACCEPT
                            CIRCLE                                                      Customer Conversion        Lights Lease
                                                                                        NEC Lease Agreement -
                                                                                        5140 S Cobb Drive,
                                                                                        Smyrna, GA 30082
GEORGIA POWER COMPANY       1790 MONTREAL        TUCKER    GA   30084-6801   03/20/15   Lighting Services          Real Estate - Parking   NEW ACCEPT
                            CIRCLE                                                      Customer Conversion        Lights Lease
                                                                                        NEC Lease Agreement -
                                                                                        5181 Highway 78, Stone
                                                                                        Mountain, GA 30291

GEORGIA POWER COMPANY       1790 MONTREAL        TUCKER    GA   30084-6801   03/16/15   Lighting Services          Real Estate - Parking   NEW ACCEPT
                            CIRCLE                                                      Customer Conversion        Lights Lease
                                                                                        NEC Lease Agreement -
                                                                                        519 Shorter Avenue,
                                                                                        Rome, GA 30161
GEORGIA POWER COMPANY       1790 MONTREAL        TUCKER    GA   30084-6801   03/11/15   Lighting Services          Real Estate - Parking   NEW ACCEPT
                            CIRCLE                                                      Customer Conversion        Lights Lease
                                                                                        NEC Lease Agreement -
                                                                                        5235 Old National Hwy,
                                                                                        College Park, GA 30349
GEORGIA POWER COMPANY       1790 MONTREAL        TUCKER    GA   30084-6801   04/01/15   Lighting Services          Real Estate - Parking   NEW ACCEPT
                            CIRCLE                                                      Customer Conversion        Lights Lease
                                                                                        NEC Lease Agreement -
                                                                                        5703 Alabama Hwy.,
                                                                                        Ringgold, GA 30736
GEORGIA POWER COMPANY       1790 MONTREAL        TUCKER    GA   30084-6801   11/19/15   Lighting Services          Real Estate - Parking   NEW ACCEPT
                            CIRCLE                                                      Customer Conversion        Lights Lease
                                                                                        NEC Lease Agreement -
                                                                                        607 East Martintown Rd,
                                                                                        N Augusta, SC 29841

GEORGIA POWER COMPANY       1790 MONTREAL        TUCKER    GA   30084-6801   04/03/15   Lighting Services     Real Estate - Parking        NEW ACCEPT
                            CIRCLE                                                      Customer Conversion   Lights Lease
                                                                                        NEC Lease Agreement -
                                                                                        6225 Zebulon Rd,
                                                                                        Macon, GA 31210
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GEORGIA POWER COMPANY    1790 MONTREAL       TUCKER   GA   30084-6801   03/16/15   Lighting Services          Real Estate - Parking   NEW ACCEPT
                         CIRCLE                                                    Customer Conversion        Lights Lease
                                                                                   NEC Lease Agreement -
                                                                                   623 N Main Street,
                                                                                   Cedartown, GA 30125
GEORGIA POWER COMPANY    1790 MONTREAL       TUCKER   GA   30084-6801   03/16/15   Lighting Services          Real Estate - Parking   NEW ACCEPT
                         CIRCLE                                                    Customer Conversion        Lights Lease
                                                                                   NEC Lease Agreement -
                                                                                   652 Hwy 53 East SE,
                                                                                   Calhoun, GA 30701
GEORGIA POWER COMPANY    1790 MONTREAL       TUCKER   GA   30084-6801   04/20/15   Lighting Services          Real Estate - Parking   NEW ACCEPT
                         CIRCLE                                                    Customer Conversion        Lights Lease
                                                                                   NEC Lease Agreement -
                                                                                   713 W Oglethorpe Blvd,
                                                                                   Albany , GA 31701
GEORGIA POWER COMPANY    1790 MONTREAL       TUCKER   GA   30084-6801   04/03/15   Lighting Services          Real Estate - Parking   NEW ACCEPT
                         CIRCLE                                                    Customer Conversion        Lights Lease
                                                                                   NEC Lease Agreement -
                                                                                   892 Riverside Dr,
                                                                                   Macon, GA 31201
GEORGIA POWER COMPANY    1790 MONTREAL       TUCKER   GA   30084-6801   03/30/15   Lighting Services NEC      Real Estate - Parking   NEW ACCEPT
                         CIRCLE                                                    Lease Agreement - 1015     Lights Lease
                                                                                   East Hwy 80 , Pooler ,
                                                                                   GA 31322

GEORGIA POWER COMPANY    1790 MONTREAL       TUCKER   GA   30084-6801   03/15/15   Lighting Services NEC Real Estate - Parking        NEW ACCEPT
                         CIRCLE                                                    Lease Agreement - 1055 Lights Lease
                                                                                   Holcomb Bridge Rd,
                                                                                   Roswell, GA 30076

GEORGIA POWER COMPANY    1790 MONTREAL       TUCKER   GA   30084-6801   04/12/17   Lighting Services NEC Real Estate - Parking        NEW ACCEPT
                         CIRCLE                                                    Lease Agreement - 1071 Lights Lease
                                                                                   GA Highway 96, Warner
                                                                                   Robins, GA 31088

GEORGIA POWER COMPANY    1790 MONTREAL       TUCKER   GA   30084-6801   04/02/15   Lighting Services NEC Real Estate - Parking        NEW ACCEPT
                         CIRCLE                                                    Lease Agreement - 1205 Lights Lease
                                                                                   St. Augustine Rd,
                                                                                   Valdosta, GA 31601

GEORGIA POWER COMPANY    1790 MONTREAL       TUCKER   GA   30084-6801   03/31/15   Lighting Services NEC      Real Estate - Parking   NEW ACCEPT
                         CIRCLE                                                    Lease Agreement -          Lights Lease
                                                                                   14020 Abercorn St,
                                                                                   Savannah, GA 31419

GEORGIA POWER COMPANY    1790 MONTREAL       TUCKER   GA   30084-6801   03/30/15   Lighting Services NEC Real Estate - Parking        NEW ACCEPT
                         CIRCLE                                                    Lease Agreement - 1555 Lights Lease
                                                                                   Walton Way, Augusta,
                                                                                   GA 30904

GEORGIA POWER COMPANY    1790 MONTREAL       TUCKER   GA   30084-6801   04/20/15   Lighting Services NEC Real Estate - Parking        NEW ACCEPT
                         CIRCLE                                                    Lease Agreement - 1605 Lights Lease
                                                                                   North Slappey Blvd,
                                                                                   Albany , GA 31701

GEORGIA POWER COMPANY    1790 MONTREAL       TUCKER   GA   30084-6801   04/02/15   Lighting Services NEC Real Estate - Parking        NEW ACCEPT
                         CIRCLE                                                    Lease Agreement - 1815 Lights Lease
                                                                                   East 16th Avenue,
                                                                                   Cordele, GA 31015

GEORGIA POWER COMPANY    1790 MONTREAL       TUCKER   GA   30084-6801   03/30/15   Lighting Services NEC Real Estate - Parking        NEW ACCEPT
                         CIRCLE                                                    Lease Agreement - 2537 Lights Lease
                                                                                   Peach Orchard Road,
                                                                                   Augusta, GA 30906

GEORGIA POWER COMPANY    1790 MONTREAL       TUCKER   GA   30084-6801   04/20/15   Lighting Services NEC Real Estate - Parking        NEW ACCEPT
                         CIRCLE                                                    Lease Agreement - 2621 Lights Lease
                                                                                   Dawson Road, Albany ,
                                                                                   GA 31707

GEORGIA POWER COMPANY    1790 MONTREAL       TUCKER   GA   30084-6801   03/30/15   Lighting Services NEC Real Estate - Parking        NEW ACCEPT
                         CIRCLE                                                    Lease Agreement - 2804 Lights Lease
                                                                                   Bee Rd, Savannah, GA
                                                                                   31401

GEORGIA POWER COMPANY    1790 MONTREAL       TUCKER   GA   30084-6801   06/08/16   Lighting Services NEC      Real Estate - Parking   NEW ACCEPT
                         CIRCLE                                                    Lease Agreement - 300      Lights Lease
                                                                                   Georgia Highway 49N,
                                                                                   Byron, GA 31008

GEORGIA POWER COMPANY    1790 MONTREAL       TUCKER   GA   30084-6801   04/15/15   Lighting Services NEC Real Estate - Parking        NEW ACCEPT
                         CIRCLE                                                    Lease Agreement - 3029 Lights Lease
                                                                                   Manchester Expressway
                                                                                   , Columbus, GA 31909

GEORGIA POWER COMPANY    1790 MONTREAL       TUCKER   GA   30084-6801   03/11/16   Lighting Services NEC      Real Estate - Parking   NEW ACCEPT
                         CIRCLE                                                    Lease Agreement -          Lights Lease
                                                                                   30605 Hwy 441 South,
                                                                                   Commerce, GA 30529

GEORGIA POWER COMPANY    1790 MONTREAL       TUCKER   GA   30084-6801   04/01/15   Lighting Services NEC Real Estate - Parking        NEW ACCEPT
                         CIRCLE                                                    Lease Agreement - 3446 Lights Lease
                                                                                   Victory Drive, Columbus,
                                                                                   GA 31903

GEORGIA POWER COMPANY    1790 MONTREAL       TUCKER   GA   30084-6801   04/10/15   Lighting Services NEC      Real Estate - Parking   NEW ACCEPT
                         CIRCLE                                                    Lease Agreement - 349      Lights Lease
                                                                                   Cleveland Ave, Atlanta,
                                                                                   GA 30315

GEORGIA POWER COMPANY    1790 MONTREAL       TUCKER   GA   30084-6801   03/30/15   Lighting Services NEC      Real Estate - Parking   NEW ACCEPT
                         CIRCLE                                                    Lease Agreement - 468      Lights Lease
                                                                                   South Columbia Ave,
                                                                                   Rincon, GA 31326

GEORGIA POWER COMPANY    1790 MONTREAL       TUCKER   GA   30084-6801   03/30/15   Lighting Services NEC Real Estate - Parking        NEW ACCEPT
                         CIRCLE                                                    Lease Agreement - 4814 Lights Lease
                                                                                   Augusta Rd, Garden
                                                                                   City, GA 31408

GEORGIA POWER COMPANY    1790 MONTREAL       TUCKER   GA   30084-6801   04/15/15   Lighting Services NEC Real Estate - Parking        NEW ACCEPT
                         CIRCLE                                                    Lease Agreement - 4823 Lights Lease
                                                                                   Buena Vista Rd,
                                                                                   Columbus, GA 31907

GEORGIA POWER COMPANY    1790 MONTREAL       TUCKER   GA   30084-6801   03/20/15   Lighting Services NEC      Real Estate - Parking   NEW ACCEPT
                         CIRCLE                                                    Lease Agreement - 509      Lights Lease
                                                                                   West Taylor St, Griffin,
                                                                                   GA 30223

GEORGIA POWER COMPANY    1790 MONTREAL       TUCKER   GA   30084-6801   03/30/15   Lighting Services NEC Real Estate - Parking        NEW ACCEPT
                         CIRCLE                                                    Lease Agreement - 5405 Lights Lease
                                                                                   Abercorn Street,
                                                                                   Savannah, GA 31405

GEORGIA POWER COMPANY    1790 MONTREAL       TUCKER   GA   30084-6801   04/15/15   Lighting Services NEC Real Estate - Parking        NEW ACCEPT
                         CIRCLE                                                    Lease Agreement - 5412 Lights Lease
                                                                                   Veterans Parkway,
                                                                                   Columbus, GA 31904

GEORGIA POWER COMPANY    1790 MONTREAL       TUCKER   GA   30084-6801   04/16/15   Lighting Services NEC Real Estate - Parking        NEW ACCEPT
                         CIRCLE                                                    Lease Agreement - 5716 Lights Lease
                                                                                   Fairburn Rd,
                                                                                   Douglasville, GA 30134

GEORGIA POWER COMPANY    1790 MONTREAL       TUCKER   GA   30084-6801   03/20/15   Lighting Services NEC Real Estate - Parking        NEW ACCEPT
                         CIRCLE                                                    Lease Agreement - 6155 Lights Lease
                                                                                   Highway 141, Norcross,
                                                                                   GA 30017

GEORGIA POWER COMPANY    1790 MONTREAL       TUCKER   GA   30084-6801   04/03/15   Lighting Services NEC      Real Estate - Parking   NEW ACCEPT
                         CIRCLE                                                    Lease Agreement - 65       Lights Lease
                                                                                   Tourist Dr, Brunswick,
                                                                                   GA 31520

GEORGIA POWER COMPANY    1790 MONTREAL       TUCKER   GA   30084-6801   04/07/15   Lighting Services NEC Real Estate - Parking        NEW ACCEPT
                         CIRCLE                                                    Lease Agreement - 781 Lights Lease
                                                                                   Brannen Rd, Statesboro,
                                                                                   GA 30458
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GEORGIA POWER COMPANY    1790 MONTREAL       TUCKER   GA   30084-6801   04/02/15   Lighting Services NEC      Real Estate - Parking   NEW ACCEPT
                         CIRCLE                                                    Lease Agreement - 815      Lights Lease
                                                                                   West Second Street,
                                                                                   Tifton, GA 31794

GEORGIA POWER COMPANY    1790 MONTREAL       TUCKER   GA   30084-6801   03/30/15   Lighting Services NESC Real Estate - Parking       NEW ACCEPT
                         CIRCLE                                                    Lease Agreement -      Lights Lease
                                                                                   10003 Abercorn Street,
                                                                                   Savannah, GA 31406

GEORGIA POWER COMPANY    1790 MONTREAL       TUCKER   GA   30084-6801   03/11/20   Lighting Services NESC Real Estate - Parking       NEW ACCEPT
                         CIRCLE                                                    Lease Agreement - 1447 Lights Lease
                                                                                   Highway 138, Conyers,
                                                                                   GA 30012

GEORGIA POWER COMPANY    1790 MONTREAL       TUCKER   GA   30084-6801   03/16/15   Lighting Services NESC Real Estate - Parking       NEW ACCEPT
                         CIRCLE                                                    Lease Agreement - 1704 Lights Lease
                                                                                   Turner McCall Blvd,
                                                                                   Rome, GA 30161

GEORGIA POWER COMPANY    1790 MONTREAL       TUCKER   GA   30084-6801   03/20/15   Lighting Services NESC Real Estate - Parking       NEW ACCEPT
                         CIRCLE                                                    Lease Agreement - 1855 Lights Lease
                                                                                   Candler Rd, Decatur,
                                                                                   GA 30032

GEORGIA POWER COMPANY    1790 MONTREAL       TUCKER   GA   30084-6801   04/01/15   Lighting Services NESC Real Estate - Parking       NEW ACCEPT
                         CIRCLE                                                    Lease Agreement - 1909 Lights Lease
                                                                                   East Walnut Avenue,
                                                                                   Dalton, GA 30720

GEORGIA POWER COMPANY    1790 MONTREAL       TUCKER   GA   30084-6801   03/20/15   Lighting Services NESC Real Estate - Parking       NEW ACCEPT
                         CIRCLE                                                    Lease Agreement - 2223 Lights Lease
                                                                                   Lawrenceville Hwy,
                                                                                   Decatur, GA 30033

GEORGIA POWER COMPANY    1790 MONTREAL       TUCKER   GA   30084-6801   03/30/15   Lighting Services NESC Real Estate - Parking       NEW ACCEPT
                         CIRCLE                                                    Lease Agreement - 2537 Lights Lease
                                                                                   Peach Orchard Road,
                                                                                   Augusta, GA 30906

GEORGIA POWER COMPANY    1790 MONTREAL       TUCKER   GA   30084-6801   04/03/15   Lighting Services NESC Real Estate - Parking       NEW ACCEPT
                         CIRCLE                                                    Lease Agreement - 2863 Lights Lease
                                                                                   Pio Nino Ave, Macon,
                                                                                   GA 31206

GEORGIA POWER COMPANY    1790 MONTREAL       TUCKER   GA   30084-6801   03/18/15   Lighting Services NESC Real Estate - Parking       NEW ACCEPT
                         CIRCLE                                                    Lease Agreement - 2890 Lights Lease
                                                                                   Evans Mill Road,
                                                                                   Lithonia , GA 30038

GEORGIA POWER COMPANY    1790 MONTREAL       TUCKER   GA   30084-6801   03/20/15   Lighting Services NESC Real Estate - Parking       NEW ACCEPT
                         CIRCLE                                                    Lease Agreement - 2929 Lights Lease
                                                                                   Canton Rd, Marietta, GA
                                                                                   30066

GEORGIA POWER COMPANY    1790 MONTREAL       TUCKER   GA   30084-6801   06/24/15   Lighting Services NESC Real Estate - Parking       NEW ACCEPT
                         CIRCLE                                                    Lease Agreement - 300 Lights Lease
                                                                                   Georgia Highway 49N,
                                                                                   Byron, GA 31008

GEORGIA POWER COMPANY    1790 MONTREAL       TUCKER   GA   30084-6801   03/20/15   Lighting Services NESC Real Estate - Parking       NEW ACCEPT
                         CIRCLE                                                    Lease Agreement - 3037 Lights Lease
                                                                                   Piedmont Rd, Atlanta ,
                                                                                   GA 30305

GEORGIA POWER COMPANY    1790 MONTREAL       TUCKER   GA   30084-6801   04/01/15   Lighting Services NESC Real Estate - Parking       NEW ACCEPT
                         CIRCLE                                                    Lease Agreement - 3446 Lights Lease
                                                                                   Victory Drive, Columbus,
                                                                                   GA 31903

GEORGIA POWER COMPANY    1790 MONTREAL       TUCKER   GA   30084-6801   04/13/15   Lighting Services NESC Real Estate - Parking       NEW ACCEPT
                         CIRCLE                                                    Lease Agreement - 349 Lights Lease
                                                                                   Cleveland Ave, Atlanta,
                                                                                   GA 30315

GEORGIA POWER COMPANY    1790 MONTREAL       TUCKER   GA   30084-6801   03/12/15   Lighting Services NESC Real Estate - Parking       NEW ACCEPT
                         CIRCLE                                                    Lease Agreement - 3562 Lights Lease
                                                                                   Highway 138 SE,
                                                                                   Stockbridge, GA 30281

GEORGIA POWER COMPANY    1790 MONTREAL       TUCKER   GA   30084-6801   04/03/15   Lighting Services NESC Real Estate - Parking       NEW ACCEPT
                         CIRCLE                                                    Lease Agreement - 3909 Lights Lease
                                                                                   Bloomfield Rd, Macon,
                                                                                   GA 31206

GEORGIA POWER COMPANY    1790 MONTREAL       TUCKER   GA   30084-6801   03/20/15   Lighting Services NESC Real Estate - Parking       NEW ACCEPT
                         CIRCLE                                                    Lease Agreement - 415 Lights Lease
                                                                                   Moreland Ave, Atlanta,
                                                                                   GA 30316

GEORGIA POWER COMPANY    1790 MONTREAL       TUCKER   GA   30084-6801   03/30/15   Lighting Services NESC Real Estate - Parking       NEW ACCEPT
                         CIRCLE                                                    Lease Agreement - 4814 Lights Lease
                                                                                   Augusta Rd, Garden
                                                                                   City, GA 31408

GEORGIA POWER COMPANY    1790 MONTREAL       TUCKER   GA   30084-6801   03/09/15   Lighting Services NESC Real Estate - Parking       NEW ACCEPT
                         CIRCLE                                                    Lease Agreement - 626 Lights Lease
                                                                                   14th Street, Atlanta , GA
                                                                                   30318

GEORGIA POWER COMPANY    1790 MONTREAL       TUCKER   GA   30084-6801   03/09/15   Lighting Services NESC Real Estate - Parking       NEW ACCEPT
                         CIRCLE                                                    Lease Agreement - 6405 Lights Lease
                                                                                   Jonesboro Rd, Morrow,
                                                                                   GA 30260

GEORGIA POWER COMPANY    1790 MONTREAL       TUCKER   GA   30084-6801   03/12/15   Lighting Services NESC Real Estate - Parking       NEW ACCEPT
                         CIRCLE                                                    Lease Agreement - 6605 Lights Lease
                                                                                   Hwy 85, Riverdale , GA
                                                                                   30274

GEORGIA POWER COMPANY    1790 MONTREAL       TUCKER   GA   30084-6801   03/18/15   Lighting Services NESC Real Estate - Parking       NEW ACCEPT
                         CIRCLE                                                    Lease Agreement - 725 Lights Lease
                                                                                   Veterans Memorial Hwy
                                                                                   SW, Mableton, GA
                                                                                   30126

GEORGIA POWER COMPANY    1790 MONTREAL       TUCKER   GA   30084-6801   04/03/15   Lighting Services NESC Real Estate - Parking       NEW ACCEPT
                         CIRCLE                                                    Lease Agreement - 892 Lights Lease
                                                                                   Riverside Dr, Macon, GA
                                                                                   31201

GEORGIA POWER COMPANY    1790 MONTREAL       TUCKER   GA   30084-6801   03/12/15   Lighting Services NESC Real Estate - Parking       NEW ACCEPT
                         CIRCLE                                                    Lease Agreement - 939 Lights Lease
                                                                                   Highway 155 S,
                                                                                   McDonough, GA 30253

GULF POWER COMPANY       PO BOX 29090        MIAMI    FL   33102-9090   04/12/15   Contract for Street and    Real Estate - Parking   NEW ACCEPT
                                                                                   General Area Lighting      Lights Lease
                                                                                   Service - 131 W 3rd
                                                                                   Street, Panama City, FL
                                                                                   32405
GULF POWER COMPANY       PO BOX 29090        MIAMI    FL   33102-9090   04/09/15   Contract for Street and    Real Estate - Parking   NEW ACCEPT
                                                                                   General Area Lighting      Lights Lease
                                                                                   Service - 1706 W.
                                                                                   Fairfield Dr, Pensacola,
                                                                                   FL 32501
GULF POWER COMPANY       PO BOX 29090        MIAMI    FL   33102-9090   04/03/15   Contract for Street and    Real Estate - Parking   NEW ACCEPT
                                                                                   General Area Lighting      Lights Lease
                                                                                   Service - 5660 North
                                                                                   Ninth Ave, Pensacola ,
                                                                                   FL 32504
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MEMPHIS LIGHT, GAS AND WATER DIVISION   COMMERCIAL &        P.O. BOX 430   MEMPHIS       TN   38101-0430   02/22/16   MLGW Leased Outdoor Real Estate - Parking          NEW ACCEPT
                                        INDUSTRIAL                                                                    Lighting Contract - 4395 Lights Lease
                                        CUSTOMER CARE                                                                 Elvis Presley Blvd,
                                                                                                                      Memphis, TN 38116

MISSISSIPPI POWER COMPANY               ATTN: MARKETING     PO BOX 4079    GULFPORT      MS   39502-4079   11/13/15   Lighting Services -        Real Estate - Parking   NEW ACCEPT
                                        LIGHTING SERVICES                                                             Standard Lease             Lights Lease
                                                                                                                      Agreement - 1045 Ellus
                                                                                                                      Avenue, MS 39209

MISSISSIPPI POWER COMPANY               ATTN: MARKETING     PO BOX 4079    GULFPORT      MS   39502-4079   01/22/16   Lighting Services -        Real Estate - Parking   NEW ACCEPT
                                        LIGHTING SERVICES                                                             Standard Lease             Lights Lease
                                                                                                                      Agreement - 1820 Hwy
                                                                                                                      72 East, Corinth, MS
                                                                                                                      38834
MISSISSIPPI POWER COMPANY               ATTN: MARKETING     PO BOX 4079    GULFPORT      MS   39502-4079   11/13/15   Lighting Services -        Real Estate - Parking   NEW ACCEPT
                                        LIGHTING SERVICES                                                             Standard Lease             Lights Lease
                                                                                                                      Agreement - 2010 E
                                                                                                                      County Line Rd,
                                                                                                                      Ridgeland, MS 39157
MISSISSIPPI POWER COMPANY               ATTN: MARKETING     PO BOX 4079    GULFPORT      MS   39502-4079   06/17/15   Lighting Services -        Real Estate - Parking   NEW ACCEPT
                                        LIGHTING SERVICES                                                             Standard Lease             Lights Lease
                                                                                                                      Agreement - 2603
                                                                                                                      Denny Avenue,
                                                                                                                      Pascagoula, MS 39567
MISSISSIPPI POWER COMPANY               ATTN: MARKETING     PO BOX 4079    GULFPORT      MS   39502-4079   01/17/16   Lighting Services -        Real Estate - Parking   NEW ACCEPT
                                        LIGHTING SERVICES                                                             Standard Lease             Lights Lease
                                                                                                                      Agreement - 3502
                                                                                                                      Highway 80 East, Pearl ,
                                                                                                                      MS 39208
MISSISSIPPI POWER COMPANY               ATTN: MARKETING     PO BOX 4079    GULFPORT      MS   39502-4079   11/13/15   Lighting Services -        Real Estate - Parking   NEW ACCEPT
                                        LIGHTING SERVICES                                                             Standard Lease             Lights Lease
                                                                                                                      Agreement - 3875
                                                                                                                      Highway 80 West,
                                                                                                                      Jackson, MS 39209
MISSISSIPPI POWER COMPANY               ATTN: MARKETING     PO BOX 4079    GULFPORT      MS   39502-4079   11/13/15   Lighting Services -        Real Estate - Parking   NEW ACCEPT
                                        LIGHTING SERVICES                                                             Standard Lease             Lights Lease
                                                                                                                      Agreement - 4307 North
                                                                                                                      State Street, Jackson,
                                                                                                                      MS 39206
MISSISSIPPI POWER COMPANY               ATTN: MARKETING     PO BOX 4079    GULFPORT      MS   39502-4079   11/13/15   Lighting Services -        Real Estate - Parking   NEW ACCEPT
                                        LIGHTING SERVICES                                                             Standard Lease             Lights Lease
                                                                                                                      Agreement -2325
                                                                                                                      Lakeland Drive,
                                                                                                                      Flowood, MS 39232
POWER SECURE, INC.                      1609 HERITAGE                      WAKE FOREST   NC   27587        03/02/18   Energy Efficiency          Real Estate - Parking   NEW ACCEPT
                                        COMMERCE CL                                                                   Services Agreement -       Lights Lease
                                                                                                                      1212 Pinson St, Tarrant
                                                                                                                      City , AL 35217

POWER SECURE, INC.                      1609 HERITAGE                      WAKE FOREST   NC   27587        02/21/18   Energy Efficiency     Real Estate - Parking        NEW ACCEPT
                                        COMMERCE CL                                                                   Services Agreement -  Lights Lease
                                                                                                                      1257 West Government
                                                                                                                      St, Brandon, MS 39042

POWER SECURE, INC.                      1609 HERITAGE                      WAKE FOREST   NC   27587        12/13/18   Energy Efficiency          Real Estate - Parking   NEW ACCEPT
                                        COMMERCE CL                                                                   Services Agreement -       Lights Lease
                                                                                                                      3634 East Curry Ford
                                                                                                                      Rd, Orlando, FL 32806

POWER SECURE, INC.                      1609 HERITAGE                      WAKE FOREST   NC   27587        02/22/16   Energy Efficiency        Real Estate - Parking     NEW ACCEPT
                                        COMMERCE CL                                                                   Services Agreement -     Lights Lease
                                                                                                                      4395 Elvis Presley Blvd,
                                                                                                                      Memphis, TN 38116

POWER SECURE, INC.                      1609 HERITAGE                      WAKE FOREST   NC   27587        10/05/18   Energy Efficiency          Real Estate - Parking   NEW ACCEPT
                                        COMMERCE CL                                                                   Services Agreement -       Lights Lease
                                                                                                                      5219 Clinton Hwy.,
                                                                                                                      Knoxville, TN 37912

POWER SECURE, INC.                      1609 HERITAGE                      WAKE FOREST   NC   27587        01/16/19   Energy Efficiency      Real Estate - Parking       NEW ACCEPT
                                        COMMERCE CL                                                                   Services Agreement -   Lights Lease
                                                                                                                      5446 US-90, Mobile, AL
                                                                                                                      36619

POWER SECURE, INC.                      1609 HERITAGE                      WAKE FOREST   NC   27587        05/19/16   Energy Efficiency          Real Estate - Parking   NEW ACCEPT
                                        COMMERCE CL                                                                   Services Agreement -       Lights Lease
                                                                                                                      730 E. Memorial Blvd.,
                                                                                                                      Lakeland, FL 33801

POWER SECURE, INC.                      1609 HERITAGE                      WAKE FOREST   NC   27587        06/14/18   Energy Efficiency      Real Estate - Parking       NEW ACCEPT
                                        COMMERCE CL                                                                   Services Agreement -   Lights Lease
                                                                                                                      7300 Shallowford Road,
                                                                                                                      Chattanooga, TN 37421

POWER SECURE, INC.                      1609 HERITAGE                      WAKE FOREST   NC   27587        10/23/17   Energy Efficiency          Real Estate - Parking   NEW ACCEPT
                                        COMMERCE CL                                                                   Services Agreement -       Lights Lease
                                                                                                                      8000 Senoia Rd,
                                                                                                                      Fairburn, GA 30213

SOUTHERN MANAGEMENT DEVELOPMENT, INC.   1790 MONTREAL                      TUCKER        GA   30084-6801   02/24/16   Lighting Services          Real Estate - Parking   NEW ACCEPT
                                        CIRCLE                                                                        Customer Conversion        Lights Lease
                                                                                                                      NEC Lease Agreement -
                                                                                                                      100 W Trinity Lane,
                                                                                                                      Nashville, TN 37207
SOUTHERN MANAGEMENT DEVELOPMENT, INC.   1790 MONTREAL                      TUCKER        GA   30084-6801   04/25/16   Lighting Services          Real Estate - Parking   NEW ACCEPT
                                        CIRCLE                                                                        Customer Conversion        Lights Lease
                                                                                                                      NEC Lease Agreement -
                                                                                                                      10058 Atlantic Blvd.,
                                                                                                                      Jacksonville, FL 32225
SOUTHERN MANAGEMENT DEVELOPMENT, INC.   1790 MONTREAL                      TUCKER        GA   30084-6801   02/25/16   Lighting Services          Real Estate - Parking   NEW ACCEPT
                                        CIRCLE                                                                        Customer Conversion        Lights Lease
                                                                                                                      NEC Lease Agreement -
                                                                                                                      1100 Smithville Highway
                                                                                                                      Ste 200, McMinnville,
                                                                                                                      TN 37110
SOUTHERN MANAGEMENT DEVELOPMENT, INC.   1790 MONTREAL                      TUCKER        GA   30084-6801   02/10/16   Lighting Services          Real Estate - Parking   NEW ACCEPT
                                        CIRCLE                                                                        Customer Conversion        Lights Lease
                                                                                                                      NEC Lease Agreement -
                                                                                                                      1205 Highway 321
                                                                                                                      North, Lenoir City, TN
                                                                                                                      37771
SOUTHERN MANAGEMENT DEVELOPMENT, INC.   1790 MONTREAL                      TUCKER        GA   30084-6801   02/10/16   Lighting Services          Real Estate - Parking   NEW ACCEPT
                                        CIRCLE                                                                        Customer Conversion        Lights Lease
                                                                                                                      NEC Lease Agreement -
                                                                                                                      1217 Oak Ridge
                                                                                                                      Turnpike, Oak Ridge, TN
                                                                                                                      37830
SOUTHERN MANAGEMENT DEVELOPMENT, INC.   1790 MONTREAL                      TUCKER        GA   30084-6801   02/10/16   Lighting Services          Real Estate - Parking   NEW ACCEPT
                                        CIRCLE                                                                        Customer Conversion        Lights Lease
                                                                                                                      NEC Lease Agreement -
                                                                                                                      125 Fork of River Pkwy,
                                                                                                                      Sevierville, TN 37862
SOUTHERN MANAGEMENT DEVELOPMENT, INC.   1790 MONTREAL                      TUCKER        GA   30084-6801   02/22/16   Lighting Services          Real Estate - Parking   NEW ACCEPT
                                        CIRCLE                                                                        Customer Conversion        Lights Lease
                                                                                                                      NEC Lease Agreement -
                                                                                                                      1377 Union Ave,
                                                                                                                      Memphis, TN 38104
SOUTHERN MANAGEMENT DEVELOPMENT, INC.   1790 MONTREAL                      TUCKER        GA   30084-6801   02/24/16   Lighting Services          Real Estate - Parking   NEW ACCEPT
                                        CIRCLE                                                                        Customer Conversion        Lights Lease
                                                                                                                      NEC Lease Agreement -
                                                                                                                      1717 Charlotte Pike,
                                                                                                                      Nashville, TN 37203
SOUTHERN MANAGEMENT DEVELOPMENT, INC.   1790 MONTREAL                      TUCKER        GA   30084-6801   05/02/16   Lighting Services          Real Estate - Parking   NEW ACCEPT
                                        CIRCLE                                                                        Customer Conversion        Lights Lease
                                                                                                                      NEC Lease Agreement -
                                                                                                                      1811 South Roan St,
                                                                                                                      Harriman, TN 37748
SOUTHERN MANAGEMENT DEVELOPMENT, INC.   1790 MONTREAL                      TUCKER        GA   30084-6801   03/14/16   Lighting Services          Real Estate - Parking   NEW ACCEPT
                                        CIRCLE                                                                        Customer Conversion        Lights Lease
                                                                                                                      NEC Lease Agreement -
                                                                                                                      1824 N Locust St,
                                                                                                                      Lawrenceburg, TN
                                                                                                                      38464
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SOUTHERN MANAGEMENT DEVELOPMENT, INC.   1790 MONTREAL   TUCKER   GA   30084-6801   02/24/16   Lighting Services      Real Estate - Parking        NEW ACCEPT
                                        CIRCLE                                                Customer Conversion    Lights Lease
                                                                                              NEC Lease Agreement -
                                                                                              1858 S Church St,
                                                                                              Murfreesboro, TN 37130

SOUTHERN MANAGEMENT DEVELOPMENT, INC.   1790 MONTREAL   TUCKER   GA   30084-6801   02/14/16   Lighting Services           Real Estate - Parking   NEW ACCEPT
                                        CIRCLE                                                Customer Conversion         Lights Lease
                                                                                              NEC Lease Agreement -
                                                                                              1926 Shady Brook St,
                                                                                              Columbia , TN 38401
SOUTHERN MANAGEMENT DEVELOPMENT, INC.   1790 MONTREAL   TUCKER   GA   30084-6801   03/14/16   Lighting Services           Real Estate - Parking   NEW ACCEPT
                                        CIRCLE                                                Customer Conversion         Lights Lease
                                                                                              NEC Lease Agreement -
                                                                                              2023 N Main Street,
                                                                                              Jacksonville, FL 32206
SOUTHERN MANAGEMENT DEVELOPMENT, INC.   1790 MONTREAL   TUCKER   GA   30084-6801   01/13/16   Lighting Services           Real Estate - Parking   NEW ACCEPT
                                        CIRCLE                                                Customer Conversion         Lights Lease
                                                                                              NEC Lease Agreement -
                                                                                              2304 E 23rd Street,
                                                                                              Chattanooga, TN 37408
SOUTHERN MANAGEMENT DEVELOPMENT, INC.   1790 MONTREAL   TUCKER   GA   30084-6801   02/10/16   Lighting Services           Real Estate - Parking   NEW ACCEPT
                                        CIRCLE                                                Customer Conversion         Lights Lease
                                                                                              NEC Lease Agreement -
                                                                                              2510 Keith Street,
                                                                                              Cleveland, TN 37311
SOUTHERN MANAGEMENT DEVELOPMENT, INC.   1790 MONTREAL   TUCKER   GA   30084-6801   01/13/16   Lighting Services           Real Estate - Parking   NEW ACCEPT
                                        CIRCLE                                                Customer Conversion         Lights Lease
                                                                                              NEC Lease Agreement -
                                                                                              2511 Decatur Pike ,
                                                                                              Athens, TN 37303
SOUTHERN MANAGEMENT DEVELOPMENT, INC.   1790 MONTREAL   TUCKER   GA   30084-6801   02/16/16   Lighting Services           Real Estate - Parking   NEW ACCEPT
                                        CIRCLE                                                Customer Conversion         Lights Lease
                                                                                              NEC Lease Agreement -
                                                                                              2527 Lebanon Pike,
                                                                                              Nashville, TN 37214
SOUTHERN MANAGEMENT DEVELOPMENT, INC.   1790 MONTREAL   TUCKER   GA   30084-6801   03/01/16   Lighting Services           Real Estate - Parking   NEW ACCEPT
                                        CIRCLE                                                Customer Conversion         Lights Lease
                                                                                              NEC Lease Agreement -
                                                                                              2550 W International
                                                                                              Speedway, Daytona
                                                                                              Beach, FL 32114
SOUTHERN MANAGEMENT DEVELOPMENT, INC.   1790 MONTREAL   TUCKER   GA   30084-6801   02/24/16   Lighting Services           Real Estate - Parking   NEW ACCEPT
                                        CIRCLE                                                Customer Conversion         Lights Lease
                                                                                              NEC Lease Agreement -
                                                                                              261 W Broadway St,
                                                                                              Gallatin, TN 37066
SOUTHERN MANAGEMENT DEVELOPMENT, INC.   1790 MONTREAL   TUCKER   GA   30084-6801   02/01/16   Lighting Services           Real Estate - Parking   NEW ACCEPT
                                        CIRCLE                                                Customer Conversion         Lights Lease
                                                                                              NEC Lease Agreement -
                                                                                              2625 W. Hillsborough
                                                                                              Ave., Tampa, FL 33614
SOUTHERN MANAGEMENT DEVELOPMENT, INC.   1790 MONTREAL   TUCKER   GA   30084-6801   02/22/16   Lighting Services           Real Estate - Parking   NEW ACCEPT
                                        CIRCLE                                                Customer Conversion         Lights Lease
                                                                                              NEC Lease Agreement -
                                                                                              2663 Mt. Moriah Rd,
                                                                                              Memphis, TN 38115
SOUTHERN MANAGEMENT DEVELOPMENT, INC.   1790 MONTREAL   TUCKER   GA   30084-6801   10/07/16   Lighting Services           Real Estate - Parking   NEW ACCEPT
                                        CIRCLE                                                Customer Conversion         Lights Lease
                                                                                              NEC Lease Agreement -
                                                                                              2671 Murfreesboro Rd,
                                                                                              Nashville , TN 37217
SOUTHERN MANAGEMENT DEVELOPMENT, INC.   1790 MONTREAL   TUCKER   GA   30084-6801   02/16/16   Lighting Services           Real Estate - Parking   NEW ACCEPT
                                        CIRCLE                                                Customer Conversion         Lights Lease
                                                                                              NEC Lease Agreement -
                                                                                              2740 Wilma Rudolph
                                                                                              Blvd, Clarksville, TN
                                                                                              37040
SOUTHERN MANAGEMENT DEVELOPMENT, INC.   1790 MONTREAL   TUCKER   GA   30084-6801   10/07/16   Lighting Services           Real Estate - Parking   NEW ACCEPT
                                        CIRCLE                                                Customer Conversion         Lights Lease
                                                                                              NEC Lease Agreement -
                                                                                              2815 Broadway NE,
                                                                                              Knoxville, TN 37917
SOUTHERN MANAGEMENT DEVELOPMENT, INC.   1790 MONTREAL   TUCKER   GA   30084-6801   03/04/16   Lighting Services           Real Estate - Parking   NEW ACCEPT
                                        CIRCLE                                                Customer Conversion         Lights Lease
                                                                                              NEC Lease Agreement -
                                                                                              2914 S. Washington
                                                                                              Ave, Titusville, FL 32796

SOUTHERN MANAGEMENT DEVELOPMENT, INC.   1790 MONTREAL   TUCKER   GA   30084-6801   02/10/16   Lighting Services           Real Estate - Parking   NEW ACCEPT
                                        CIRCLE                                                Customer Conversion         Lights Lease
                                                                                              NEC Lease Agreement -
                                                                                              303 Whitecrest Dr,
                                                                                              Maryville, TN 37801
SOUTHERN MANAGEMENT DEVELOPMENT, INC.   1790 MONTREAL   TUCKER   GA   30084-6801   01/13/16   Lighting Services           Real Estate - Parking   NEW ACCEPT
                                        CIRCLE                                                Customer Conversion         Lights Lease
                                                                                              NEC Lease Agreement -
                                                                                              307 Cherokee Blvd,
                                                                                              Chattanooga, TN 37405
SOUTHERN MANAGEMENT DEVELOPMENT, INC.   1790 MONTREAL   TUCKER   GA   30084-6801   01/13/16   Lighting Services           Real Estate - Parking   NEW ACCEPT
                                        CIRCLE                                                Customer Conversion         Lights Lease
                                                                                              NEC Lease Agreement -
                                                                                              3150 Broad Street,
                                                                                              Chattanooga, TN 37408
SOUTHERN MANAGEMENT DEVELOPMENT, INC.   1790 MONTREAL   TUCKER   GA   30084-6801   02/22/16   Lighting Services           Real Estate - Parking   NEW ACCEPT
                                        CIRCLE                                                Customer Conversion         Lights Lease
                                                                                              NEC Lease Agreement -
                                                                                              3330 Austin Peay Hwy,
                                                                                              Memphis, TN 38128
SOUTHERN MANAGEMENT DEVELOPMENT, INC.   1790 MONTREAL   TUCKER   GA   30084-6801   03/14/16   Lighting Services           Real Estate - Parking   NEW ACCEPT
                                        CIRCLE                                                Customer Conversion         Lights Lease
                                                                                              NEC Lease Agreement -
                                                                                              337 Park Ave, Orange
                                                                                              Park , FL 32073
SOUTHERN MANAGEMENT DEVELOPMENT, INC.   1790 MONTREAL   TUCKER   GA   30084-6801   02/24/16   Lighting Services           Real Estate - Parking   NEW ACCEPT
                                        CIRCLE                                                Customer Conversion         Lights Lease
                                                                                              NEC Lease Agreement -
                                                                                              3675 Lamar Ave,
                                                                                              Memphis, TN 38118
SOUTHERN MANAGEMENT DEVELOPMENT, INC.   1790 MONTREAL   TUCKER   GA   30084-6801   02/10/16   Lighting Services           Real Estate - Parking   NEW ACCEPT
                                        CIRCLE                                                Customer Conversion         Lights Lease
                                                                                              NEC Lease Agreement -
                                                                                              3910 Western Avenue,
                                                                                              Knoxville, TN 37921
SOUTHERN MANAGEMENT DEVELOPMENT, INC.   1790 MONTREAL   TUCKER   GA   30084-6801   02/24/16   Lighting Services           Real Estate - Parking   NEW ACCEPT
                                        CIRCLE                                                Customer Conversion         Lights Lease
                                                                                              NEC Lease Agreement -
                                                                                              401 Cartwright St,
                                                                                              Goodlettsville, TN 37072

SOUTHERN MANAGEMENT DEVELOPMENT, INC.   1790 MONTREAL   TUCKER   GA   30084-6801   02/10/16   Lighting Services           Real Estate - Parking   NEW ACCEPT
                                        CIRCLE                                                Customer Conversion         Lights Lease
                                                                                              NEC Lease Agreement -
                                                                                              405 East Emory Rd,
                                                                                              Powell, TN 37849
SOUTHERN MANAGEMENT DEVELOPMENT, INC.   1790 MONTREAL   TUCKER   GA   30084-6801   02/16/16   Lighting Services           Real Estate - Parking   NEW ACCEPT
                                        CIRCLE                                                Customer Conversion         Lights Lease
                                                                                              NEC Lease Agreement -
                                                                                              410 Lovell Rd, Knoxville,
                                                                                              TN 37922
SOUTHERN MANAGEMENT DEVELOPMENT, INC.   1790 MONTREAL   TUCKER   GA   30084-6801   02/16/16   Lighting Services           Real Estate - Parking   NEW ACCEPT
                                        CIRCLE                                                Customer Conversion         Lights Lease
                                                                                              NEC Lease Agreement -
                                                                                              4395 Elvis Presley Blvd,
                                                                                              Memphis, TN 38116

SOUTHERN MANAGEMENT DEVELOPMENT, INC.   1790 MONTREAL   TUCKER   GA   30084-6801   01/13/16   Lighting Services     Real Estate - Parking         NEW ACCEPT
                                        CIRCLE                                                Customer Conversion   Lights Lease
                                                                                              NEC Lease Agreement -
                                                                                              4416 Highway 58,
                                                                                              Chattanooga, TN 37416
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SOUTHERN MANAGEMENT DEVELOPMENT, INC.   1790 MONTREAL   TUCKER   GA   30084-6801   02/25/16   Lighting Services           Real Estate - Parking   NEW ACCEPT
                                        CIRCLE                                                Customer Conversion         Lights Lease
                                                                                              NEC Lease Agreement -
                                                                                              4446 Highway 411,
                                                                                              Madisonville, TN 37354
SOUTHERN MANAGEMENT DEVELOPMENT, INC.   1790 MONTREAL   TUCKER   GA   30084-6801   02/16/16   Lighting Services           Real Estate - Parking   NEW ACCEPT
                                        CIRCLE                                                Customer Conversion         Lights Lease
                                                                                              NEC Lease Agreement -
                                                                                              449 W Main St &
                                                                                              Imperial, Hendersonville,
                                                                                              TN 37075

SOUTHERN MANAGEMENT DEVELOPMENT, INC.   1790 MONTREAL   TUCKER   GA   30084-6801   01/13/16   Lighting Services           Real Estate - Parking   NEW ACCEPT
                                        CIRCLE                                                Customer Conversion         Lights Lease
                                                                                              NEC Lease Agreement -
                                                                                              4868 Hixson Pike,
                                                                                              Chattanooga, TN 37343
SOUTHERN MANAGEMENT DEVELOPMENT, INC.   1790 MONTREAL   TUCKER   GA   30084-6801   08/30/16   Lighting Services           Real Estate - Parking   NEW ACCEPT
                                        CIRCLE                                                Customer Conversion         Lights Lease
                                                                                              NEC Lease Agreement -
                                                                                              5814 Normandy Blvd,
                                                                                              Jacksonville, FL 32205
SOUTHERN MANAGEMENT DEVELOPMENT, INC.   1790 MONTREAL   TUCKER   GA   30084-6801   08/19/16   Lighting Services           Real Estate - Parking   NEW ACCEPT
                                        CIRCLE                                                Customer Conversion         Lights Lease
                                                                                              NEC Lease Agreement -
                                                                                              6009 New Kings Rd,
                                                                                              Jacksonville, FL 32219
SOUTHERN MANAGEMENT DEVELOPMENT, INC.   1790 MONTREAL   TUCKER   GA   30084-6801   03/01/16   Lighting Services           Real Estate - Parking   NEW ACCEPT
                                        CIRCLE                                                Customer Conversion         Lights Lease
                                                                                              NEC Lease Agreement -
                                                                                              6201 W Colonial Drive,
                                                                                              Orlando, FL 32808
SOUTHERN MANAGEMENT DEVELOPMENT, INC.   1790 MONTREAL   TUCKER   GA   30084-6801   01/13/16   Lighting Services           Real Estate - Parking   NEW ACCEPT
                                        CIRCLE                                                Customer Conversion         Lights Lease
                                                                                              NEC Lease Agreement -
                                                                                              621 Signal Mountain Rd,
                                                                                              Chattanooga, TN 37405

SOUTHERN MANAGEMENT DEVELOPMENT, INC.   1790 MONTREAL   TUCKER   GA   30084-6801   01/13/16   Lighting Services           Real Estate - Parking   NEW ACCEPT
                                        CIRCLE                                                Customer Conversion         Lights Lease
                                                                                              NEC Lease Agreement -
                                                                                              6300 Ringgold Rd, East
                                                                                              Ridge, TN 37412
SOUTHERN MANAGEMENT DEVELOPMENT, INC.   1790 MONTREAL   TUCKER   GA   30084-6801   03/01/16   Lighting Services           Real Estate - Parking   NEW ACCEPT
                                        CIRCLE                                                Customer Conversion         Lights Lease
                                                                                              NEC Lease Agreement -
                                                                                              6655 US Highway 17 &
                                                                                              92, Fern Park , FL
                                                                                              32730
SOUTHERN MANAGEMENT DEVELOPMENT, INC.   1790 MONTREAL   TUCKER   GA   30084-6801   03/15/16   Lighting Services           Real Estate - Parking   NEW ACCEPT
                                        CIRCLE                                                Customer Conversion         Lights Lease
                                                                                              NEC Lease Agreement -
                                                                                              7073 Winchester Rd.,
                                                                                              Memphis, TN 38125
SOUTHERN MANAGEMENT DEVELOPMENT, INC.   1790 MONTREAL   TUCKER   GA   30084-6801   02/16/16   Lighting Services           Real Estate - Parking   NEW ACCEPT
                                        CIRCLE                                                Customer Conversion         Lights Lease
                                                                                              NEC Lease Agreement -
                                                                                              7215 Strawberry Plains,
                                                                                              Knoxville, TN 37914
SOUTHERN MANAGEMENT DEVELOPMENT, INC.   1790 MONTREAL   TUCKER   GA   30084-6801   03/14/16   Lighting Services           Real Estate - Parking   NEW ACCEPT
                                        CIRCLE                                                Customer Conversion         Lights Lease
                                                                                              NEC Lease Agreement -
                                                                                              8015 Merrill Rd,
                                                                                              Jacksonville, FL 32277
SOUTHERN MANAGEMENT DEVELOPMENT, INC.   1790 MONTREAL   TUCKER   GA   30084-6801   02/10/16   Lighting Services           Real Estate - Parking   NEW ACCEPT
                                        CIRCLE                                                Customer Conversion         Lights Lease
                                                                                              NEC Lease Agreement -
                                                                                              8901 Kingston Pike,
                                                                                              Knoxville, TN 37923
SOUTHERN MANAGEMENT DEVELOPMENT, INC.   1790 MONTREAL   TUCKER   GA   30084-6801   03/18/16   Lighting Services           Real Estate - Parking   NEW ACCEPT
                                        CIRCLE                                                Customer Conversion         Lights Lease
                                                                                              NEC Lease Agreement -
                                                                                              9116 Baymeadows Rd,
                                                                                              Jacksonville, FL 32256
SOUTHERN MANAGEMENT DEVELOPMENT, INC.   1790 MONTREAL   TUCKER   GA   30084-6801   03/15/16   Lighting Services           Real Estate - Parking   NEW ACCEPT
                                        CIRCLE                                                Customer Conversion         Lights Lease
                                                                                              NEC Lease Agreement -
                                                                                              9986 US Highway 64,
                                                                                              Lakeland, TN 38002
